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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD/FM)

This document relates to: Estate of John P. O'Neill, Sr., et al. v. The Republic of Iraq,
et al., 04-CV-1076 (GBD)

AFFIDAVIT IN SUPPORT OF REQUEST FOR ISSUANCE OF CLERK’S
CERTIFICATE OF DEFAULT AGAINST IRAN DEFENDANTS

STATE OF NEW YORK )
COUNTY OF NEW YORK “
JERRY S. GOLDMAN, Esquire, being duly sworn, deposes and says:

1. | am a partner at Anderson Kill P.C., attorneys for the O’Neill
Plaintiffs in the above action. | am familiar with the facts and circumstances of this case
and am admitted to practice in this Court.

2. Pursuant to Local Civil Rules 55.1 of the United States District
Court for the Southern District of New York, | make this Affidavit in support of Plaintiffs’
Application for the issuance of a Clerk’s Certificate of Default against Defendants
Islamic Republic of Iran, Iranian Ministry of Intelligence and Security, Iranian Minister of
Intelligence and Security Ali Fallahian, lranian Revolutionary Guard Corps, Iranian
Revolutionary Guard Corps — QODS Force, Ayatollah Ali Hoseini-Khamenei, and
Deputy Commander Brigadier General of the Iranian Revolutionary Guard Corp.
Mohammed Baar Zalqadr (collectively, the “Iran Defendants’).

=. This is an action to recover damages owed by Iran Defendants to

Plaintiffs for injuries resulting from the September 11, 2001 terrorist attacks upon the

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United States (the "September 11th Attacks"). Iran Defendants have been sued based
on their participation in a conspiracy to commit acts of international terrorism against the
United States, its citizens and allies, of which the September 11th Attacks were a direct,
intended and foreseeable product.

4. Jurisdiction of this Court over Iran Defendants is invoked pursuant
to 28 U.S.C. § 1330, as the claims against Iran Defendants fall within the exceptions to
immunity set forth at 28 U.S.C. §§ 1605(a)(5) and 1605A of the Foreign Sovereign
Immunities Act ("FSIA").

©. This action was commenced on August 20, 2003, with the filing of
the Complaint in Estate of John P. O’Neill, Sr., et al. v. Republic of Iraq, et al. (03-CV-
1766 (RBW) (D.D.C.), Docket No. 1). Iran Defendants were added as defendants on
December 30, 2004 (03-MD-1570, Docket No. 629). Iran Defendants were served in
accordance with the FSIA, as set forth below.

6. Service on Iran Defendants was effectuated pursuant to the FSIA,
28 U.S.C. § 1608(a)(4) by sending the Third Amended Complaint, Summons and Notice
of Suit to J. Michael McMahon, Clerk of Court for the Southern District of New York,
who forwarded said documents to Mr. Edward Betancourt, Director of Special Consular
Services for the United States Department of State (the “State Department’), by
registered mail, return receipt requested. On June 17, 2005, evidence of the State
Department’s transmission of the documents was filed with the Court (03-MD-1570,
Docket Nos. 1127-1133). True and correct copies of the O'Neill Plaintiffs’ Affidavits of
Service, Returns of Service and related documents concerning Iran Defendants, are

attached hereto as Exhibit A.

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7. Iran Defendants have not answered or otherwise responded to the
Complaint, and the time for Iran Defendants to answer or otherwise respond to the
Complaint has expired.

8. Iran Defendants are not infants, in the military, or incompetent
persons.

9. Plaintiffs request a Clerk's Certificate of Default, attached hereto as
Exhibit B, to provide to Judge George B. Daniels in connection with a Motion for
Default Judgment pursuant to Fed. R. Civ. P. A
Dated: July Af2ors Y

New York, NY
J S. Goldman, Esquire
DERSON KILL P.C.
251 Avenue of the Americas

42" Floor
New York, NY 10020

Sworn to before me this pf
Day of Jv! 2015.

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Notary Public
BRUCE ELLIOT STRONG
Notary Public, State of New York
No, O28 TE21 7690
Qualifies iri New York County
Commission Expires Jan. 12, 2019

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